     Case 3:14-cv-01453-GPC-KSC Document 1 Filed 06/16/14 PageID.1 Page 1 of 11




1    Eric A. LaGuardia (SBN 272791)
2
     LAGUARDIA LAW
     3245 University Ave, #1
3    San Diego, CA 92104
4    Tel. (619) 655-4322
     Fax. (619) 655-4344
5
     eal@laguardialaw.com
6
     Attorneys for Plaintiff,
7    Justin O. Walker
8
                               UNITED STATES DISTRICT COURT
9
                         SOUTHERN DISTRICT OF CALIFORNIA
10

11
     JUSTIN O. WALKER, an individual,            )
12
                                                 ) Case No.: '14CV1453 GPC KSC
                                                 )
13                Plaintiff,                     )
                                                 )
14
                                                 ) COMPLAINT AND
            vs.                                  )
15
                                                 ) DEMAND FOR JURY TRIAL
                                                 )
     ABC FINANCIAL SERVICES INC.,                )
16
     FIRST CREDIT SERVICES, INC., and            )
                                                 )
17   DOES 1-10,                                  )
18
                                                 )
                  Defendants.                    )
19
                                                 )
                                                 )
20

21                                     INTRODUCTION
22     1.   This is an action for damages brought by an individual consumer against
23          Defendants for violations of the Fair Debt Collection Practices Act, 15 U.S.C. §
24          1692, et seq. (“FDCPA”); and the California Rosenthal Act, Civil Code § 1788
25          et seq. (“Rosenthal Act”), both of which prohibit debt collectors from engaging
26          in abusive, deceptive, and unfair practices; among others.
27   ///
28   ///



                                           COMPLAINT - 1
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1      2.   Mr. Walker, (“Plaintiff”), through Plaintiff's attorneys, brings the instant
2           lawsuit to challenge the actions of ABC FINANCIAL INC. and FIRST
3           CREDIT SERVICES, INC., (“Defendants”), with regard to attempts by
4           Defendants to unlawfully and abusively collect a debt allegedly owed by
5           Plaintiff for a gym membership, thereby causing Plaintiff damages.
6      3.   Defendants’ violations were knowing, willful, and intentional. Defendants did
7           not maintain procedures reasonably adapted to avoid any such violations.
8      4.   Plaintiff makes these allegations on information and belief and on Plaintiff’s
9           personal knowledge.
10                              JURISDICTION AND VENUE
11     5.   This Court maintains subject matter jurisdiction arising under 15 U.S.C.
12          §1692k(d) and 28 U.S.C. §§ 1331, 1337. Supplemental jurisdiction exists for
13          the state law claims pursuant to 28 U.S.C. § 1367.
14     6.   Personal jurisdiction is established because Defendants regularly conduct
15          business within the State of California.
16     7.   Venue is proper pursuant to 28 U.S.C. § 1391.
17                                          PARTIES
18     8.   Plaintiff, JUSTIN WALKER, (“Plaintiff”), is a natural person residing in the
19          City of San Diego, County of San Diego, and State of California.
20     9.   Defendant ABC FINANCIAL SERVICES, INC., (“ABC”), is an Arkansas
21          corporation with its principal place of business at 8320 Arkansas 107,
22          Sherwood, Arkansas 72120.
23     10. Defendant FIRST CREDIT SERVICES, INC., (“FCS”), is a New Jersey
24          corporation with its principal place of business at 371 Hoes Lane, Suite 300B,
25          Piscataway, New Jersey 08854.
26     11. Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
27          as that term is defined by 15 U.S.C. § 1692a(3).
28   ///



                                            COMPLAINT - 2
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1     12. Defendants are persons who use an instrumentality of interstate commerce or
2           the mails in a business the principal purpose of which is the collection of debts,
3           or who regularly collects or attempts to collect, directly or indirectly, debts
4           owed or due or asserted to be owed or due another and are therefore debt
5           collectors as that phrase is defined by 15 U.S.C. § 1692a(6).
6     13. Plaintiff is a natural person from whom a debt collector sought to collect a
7           consumer debt which was due and owing or alleged to be due and owing from
8           Plaintiff, and is a “debtor” as that term is defined by California Civil Code §
9           1788.2(h).
10    14. Defendants, in the ordinary course of business, regularly, on behalf of
11          themselves, or others, engage in debt collection as that term is defined by
12          California Civil Code § 1788.2(b), and are therefore debt collectors as that term
13          is defined by California Civil Code § 1788.2(c).
14    15. This case involves money, property or their equivalent, due or owing or alleged
15          to be due or owing from a natural person by reason of a consumer credit
16          transaction. As such, this action arises out of a consumer debt and “consumer
17          credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
18                               FACTUAL ALLEGATIONS
19    16. At all times relevant, Defendants conducted business within the State of
20          California.
21    17. Sometime before October 1, 2013, Plaintiff is alleged to have incurred certain
22          financial obligations related to a gym membership.
23    18. These financial obligations were primarily for personal, family or household
24          purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
25          §1692a(5).
26    19. Sometime thereafter, but before October 1, 2013, Plaintiff allegedly fell behind
27          in the payments allegedly owed on the alleged debt.
28    ///



                                           COMPLAINT - 3
     Case 3:14-cv-01453-GPC-KSC Document 1 Filed 06/16/14 PageID.4 Page 4 of 11




1     20. Subsequently, but before October 1, 2013, the alleged debt was assigned,
2         placed, or otherwise transferred, to Defendants for collection.
3     21. On or about October 9, 2013, Defendant ABC mailed a dunning letter to
4         Plaintiff. A few days later, Plaintiff received that letter.
5     22. This communication to Plaintiff was a “communication” as that term is defined
6         by 15 U.S.C. § 1692a(2), and an “initial communication” consistent with 15
7         U.S.C. § 1692g(a).
8     23. This communication was a “debt collection” as Cal. Civ. Code 1788.2(b)
9         defines that phrase, and an “initial communication” consistent with Cal. Civ.
10        Code § 1812.700(b).
11    24. ABC’s October 9, 2013 letter stated a “cancellation fee” of fifty dollars when
12        no such fee was provided for by contract or law.
13    25. Through this conduct, Defendant used a false, deceptive, or misleading
14        representation or means in connection with the collection of a debt.
15        Consequently, Defendant violated 15 U.S.C. § 1692e and 15 U.S.C.
16        §1692e(10).
17    26. Through this conduct, Defendant made a false representation concerning the
18        character, amount, or legal status of a debt. Consequently, Defendant violated
19        15 U.S.C. § 1692e(2)(A).
20    27. Through this conduct, Defendant made a false representation of a service
21        rendered or compensation which may be lawfully received concerning the
22        collection of a debt. Consequently, Defendant violated 15 U.S.C. §
23        1692e(2)(B).
24    28. Through this conduct, Defendant was attempting to collect an amount
25        (including any interest, fee, charge, or expense incidental to the principal
26        obligation) when such amount was not expressly authorized by the agreement
27        creating the debt or permitted by law. Consequently, Defendant violated 15
28        U.S.C. § 1692f(1).



                                           COMPLAINT - 4
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1      29. Because this violated certain portions of the federal Fair Debt Collection
2          Practices Act as these portions are incorporated by reference in the Rosenthal
3          Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
4          this conduct or omission violated Cal. Civ. Code § 1788.17.
5      30. In response to ABC’s October 9, 2013 letter, on October 11, 2013, Plaintiff sent
6          a letter to ABC stating that Plaintiff disputes the validity of the debt and will not
7          pay it. Plaintiff received confirmation that this letter was received by ABC on
8          October 18, 2013.
9      31. Despite Plaintiff’s written notification to ABC that Plaintiff disputes the alleged
10         debt and refused to pay it, ABC continued its collection attempts by contacting
11         Plaintiff via telephone on October 15, 25, and 29, of 2013; and November 4, 18,
12         and 27 of 2013.
13     32. After ABC was notified in writing that Plaintiff refused to pay the alleged debt
14         or wished ABC to cease further communication with the consumer, ABC
15         continued its communications with respect to such debt, for a purpose other
16         than enumerated in 15 U.S.C. § 1692c(c). Consequently, through this conduct,
17         ABC violated 15 U.S.C. § 1692c(c).
18     33. Because this violated certain portions of the federal Fair Debt Collection
19         Practices Act as these portions are incorporated by reference in the Rosenthal
20         Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
21         this conduct or omission violated Cal. Civ. Code § 1788.17.
22     34. On or about December 12, 2013, Defendant FCS mailed a dunning letter to
23         Plaintiff. A few days later, Plaintiff received that letter.
24     35. This communication to Plaintiff was a “communication” as that term is defined
25         by 15 U.S.C. § 1692a(2), and an “initial communication” consistent with 15
26         U.S.C. § 1692g(a).
27   ///
28   ///



                                            COMPLAINT - 5
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1     36. This communication was a “debt collection” as Cal. Civ. Code 1788.2(b)
2         defines that phrase, and an “initial communication” consistent with Cal. Civ.
3         Code § 1812.700(b).
4     37. Defendant FCS’ December 12, 2013 letter stated that Plaintiff owed a total
5         balance of $490.00 for his alleged debt related to his gym membership.
6     38. Through this conduct, Defendant used a false, deceptive, or misleading
7         representation or means in connection with the collection of a debt.
8         Consequently, Defendant violated 15 U.S.C. § 1692e and 15 U.S.C.
9         §1692e(10).
10    39. Through this conduct, Defendant made a false representation concerning the
11        character, amount, or legal status of a debt. Consequently, Defendant violated
12        15 U.S.C. § 1692e(2)(A).
13    40. Through this conduct, Defendant made a false representation of a service
14        rendered or compensation which may be lawfully received concerning the
15        collection of a debt. Consequently, Defendant violated 15 U.S.C. §
16        1692e(2)(B).
17    41. Through this conduct, Defendant was attempting to collect an amount
18        (including any interest, fee, charge, or expense incidental to the principal
19        obligation) when such amount was not expressly authorized by the agreement
20        creating the debt or permitted by law. Consequently, Defendant violated 15
21        U.S.C. § 1692f(1).
22    42. Because this violated certain portions of the federal Fair Debt Collection
23        Practices Act as these portions are incorporated by reference in the Rosenthal
24        Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
25        this conduct or omission violated Cal. Civ. Code § 1788.17.
26    43. On or about December of 2013, Plaintiff spoke with Defendant FCS on the
27        telephone. During this call, Plaintiff stated to FCS that Plaintiff disputes the
28        alleged debt, explained that documentation has already been provided that



                                         COMPLAINT - 6
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1          establishes that the debt is invalid, and that he refused to pay it. Despite this,
2          FCS threatened to report the alleged debt on Plaintiff’s credit. Plaintiff told FCS
3          not to report it since the debt is invalid, as Plaintiff’s documents establish.
4          Despite being informed of this, FCS then reported the debt on Plaintiff’s credit
5          report.
6      44. Through this conduct, Defendant communicated or threatened to communicate
7          to a person credit information which was known or which should have been
8          known to be false. Consequently, Defendant violated 15 U.S.C. § 1692e(8).
9      45. Because this violated certain portions of the federal Fair Debt Collection
10         Practices Act as these portions are incorporated by reference in the Rosenthal
11         Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
12         this conduct or omission violated Cal. Civ. Code § 1788.17.
13     46. Despite Plaintiff’s notification to FCS that Plaintiff disputes the alleged debt
14         and refused to pay it, FCS continued collection attempts and contacted Plaintiff
15         via telephone on January 24, 2014.
16     47. After FCS was notified that Plaintiff refused to pay the alleged debt, FCS
17         continued its communications with respect to such debt, for a purpose other
18         than enumerated in 15 U.S.C. § 1692c(c). Consequently, through this conduct,
19         FCS violated 15 U.S.C. § 1692c(c).
20     48. Because this violated certain portions of the federal Fair Debt Collection
21         Practices Act as these portions are incorporated by reference in the Rosenthal
22         Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
23         this conduct or omission violated Cal. Civ. Code § 1788.17.
24   ///
25   ///
26   ///
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28   ///



                                           COMPLAINT - 7
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1                                   CLAIMS FOR RELIEF
2                                           COUNT I
3                FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
4                                  15 U.S.C. §§ 1692 ET SEQ.
5      49. Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs.
6      50. The foregoing acts and omissions constitute numerous and multiple violations
7          of the FDCPA, including but not limited to each and every one of the above
8          cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
9      51. As a result of each and every violation of the FDCPA, Plaintiff is entitled to any
10         actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages from
11         each Defendant in an amount up to $1,000.00 pursuant to 15 U.S.C. §
12         1692k(a)(2)(A); and, reasonable attorney’s fees and costs pursuant to 15 U.S.C.
13         § 1692k(a)(3) from Defendants.
14                                          COUNT II
15            ROSENTHAL FAIR DEBT COLLECTIONS PRACTICES ACT
16                                    (ROSENTHAL ACT)
17                            CAL. CIV. CODE §§ 1788-1788.32
18     52. Plaintiff repeats, re-alleges, and incorporates by reference, all other Paragraphs.
19     53. The foregoing acts and omissions constitute numerous and multiple violations
20         of the Rosenthal Act, including but not limited to each and every one of the
21         above-cited provisions of the Rosenthal Act, Cal. Civ. Code §§ 1788-1788.32.
22     54. As a result of each and every violation of the Rosenthal Act, Plaintiff is entitled
23         to any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
24         damages for a knowing or willful violation in the amount up to $1,000.00 from
25         each Defendant pursuant to Cal. Civ. Code § 1788.30(b); and reasonable
26         attorney’s fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from
27         Defendants.
28   ///



                                            COMPLAINT - 8
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1                                  PRAYER FOR RELIEF
2     55. WHEREFORE, Plaintiff prays that judgment be entered against Defendants,
3         and Plaintiff be awarded damages from Defendants, as follows:
4         • An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
5         • An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
6         1692k(a)(2)(A) from each Defendant;
7         • An award of costs of litigation and reasonable attorney’s fees, pursuant to 15
8         U.S.C. § 1692k(a)(3);
9         • An award of actual damages pursuant to Cal. Civ. Code § 1788.30(a);
10        • An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code §
11        1788.30(b) from each Defendant;
12        • An award of costs of litigation and reasonable attorney’s fees, pursuant to Cal.
13        Civ. Code § 1788.30(c).
14        • Any other relief that the court deems proper.
15    56. Pursuant to the seventh amendment to the Constitution of the United States of
16        America, Plaintiff is entitled to, and demands, a trial by jury.
17

18    Respectfully submitted,
19

20
      Dated: June 16, 2014                        LAGUARDIA LAW

21

22                                         By:     s/Eric A. LaGuardia
                                                  ERIC A. LAGUARDIA
23
                                                  Attorneys for Plaintiff,
24                                                Justin O. Walker
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                                          COMPLAINT - 9
                Case 3:14-cv-01453-GPC-KSC Document 1 Filed 06/16/14 PageID.10 Page 10 of 11
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SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
Justin O. Walker                                                                                          ABC Financial Services Inc. and First Credit Services Inc.

    (b)&RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII         San Diego, CA                               &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
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    (c)$WWRUQH\V(Firm Name, Address, and Telephone Number)
Eric LaGuardia, 3245 University Ave, #1
                                                                                                            $WWRUQH\V(If Known)
                                                                                                                                             '14CV1453 GPC KSC
San Diego, CA 92104
Tel: 619-655-4322

II. BASIS OF JURISDICTION(Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
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                                     u (GXFDWLRQ                u 3ULVRQ&RQGLWLRQ
                                                                    u &LYLO'HWDLQHH
                                                                         &RQGLWLRQVRI
                                                                         &RQILQHPHQW
V. ORIGIN(Place an “X” in One Box Only)
u  2ULJLQDO             u  5HPRYHGIURP                u        5HPDQGHGIURP            u  5HLQVWDWHGRU       u  7UDQVIHUUHGIURP            u  0XOWLGLVWULFW
    3URFHHGLQJ               6WDWH&RXUW                            $SSHOODWH&RXUW              5HRSHQHG                 $QRWKHU'LVWULFW                 /LWLJDWLRQ
                                                                                                                             (specify)
                                         &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                         15 U.S.C. §§ 1692 et seq.
VI. CAUSE OF ACTION                      %ULHIGHVFULSWLRQRIFDXVH
                                         Debt Collecting in violation of federal and state statutes
VII. REQUESTED IN     u &+(&.,)7+,6,6$CLASS ACTION                                               DEMAND $                                     &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
     COMPLAINT:          81'(558/()5&Y3                                                                                                  JURY DEMAND:         u <HV     u 1R
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               -8'*(                                                                                             '2&.(7180%(5
'$7(                                                                   6,*1$785(2)$77251(<2)5(&25'
06/16/2014                                                            s/Eric LaGuardia
FOR OFFICE USE ONLY

    5(&(,37                     $02817                                   $33/<,1*,)3                                     -8'*(                            0$*-8'*(
               Case 3:14-cv-01453-GPC-KSC Document 1 Filed 06/16/14 PageID.11 Page 11 of 11
-65HYHUVH 5HY


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                 $XWKRULW\)RU&LYLO&RYHU6KHHW

7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHVQRUVXSSOHPHQWVWKHILOLQJVDQGVHUYLFHRISOHDGLQJRURWKHUSDSHUVDV
UHTXLUHGE\ODZH[FHSWDVSURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULV
UHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKHSXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW&RQVHTXHQWO\DFLYLOFRYHUVKHHWLVVXEPLWWHGWRWKH&OHUNRI
&RXUWIRUHDFKFLYLOFRPSODLQWILOHG7KHDWWRUQH\ILOLQJDFDVHVKRXOGFRPSOHWHWKHIRUPDVIROORZV

I.(a)    Plaintiffs-Defendants.(QWHUQDPHV ODVWILUVWPLGGOHLQLWLDO RISODLQWLIIDQGGHIHQGDQW,IWKHSODLQWLIIRUGHIHQGDQWLVDJRYHUQPHQWDJHQF\XVH
         RQO\WKHIXOOQDPHRUVWDQGDUGDEEUHYLDWLRQV,IWKHSODLQWLIIRUGHIHQGDQWLVDQRIILFLDOZLWKLQDJRYHUQPHQWDJHQF\LGHQWLI\ILUVWWKHDJHQF\DQG
         WKHQWKHRIILFLDOJLYLQJERWKQDPHDQGWLWOH
  (b)    County of Residence.)RUHDFKFLYLOFDVHILOHGH[FHSW86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\ZKHUHWKHILUVWOLVWHGSODLQWLIIUHVLGHVDWWKH
         WLPHRIILOLQJ,Q86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\LQZKLFKWKHILUVWOLVWHGGHIHQGDQWUHVLGHVDWWKHWLPHRIILOLQJ 127(,QODQG
         FRQGHPQDWLRQFDVHVWKHFRXQW\RIUHVLGHQFHRIWKHGHIHQGDQWLVWKHORFDWLRQRIWKHWUDFWRIODQGLQYROYHG
  (c)    Attorneys.(QWHUWKHILUPQDPHDGGUHVVWHOHSKRQHQXPEHUDQGDWWRUQH\RIUHFRUG,IWKHUHDUHVHYHUDODWWRUQH\VOLVWWKHPRQDQDWWDFKPHQWQRWLQJ
         LQWKLVVHFWLRQ VHHDWWDFKPHQW 

II.      Jurisdiction.7KHEDVLVRIMXULVGLFWLRQLVVHWIRUWKXQGHU5XOH D )5&Y3ZKLFKUHTXLUHVWKDWMXULVGLFWLRQVEHVKRZQLQSOHDGLQJV3ODFHDQ;
         LQRQHRIWKHER[HV,IWKHUHLVPRUHWKDQRQHEDVLVRIMXULVGLFWLRQSUHFHGHQFHLVJLYHQLQWKHRUGHUVKRZQEHORZ
         8QLWHG6WDWHVSODLQWLII  -XULVGLFWLRQEDVHGRQ86&DQG6XLWVE\DJHQFLHVDQGRIILFHUVRIWKH8QLWHG6WDWHVDUHLQFOXGHGKHUH
         8QLWHG6WDWHVGHIHQGDQW  :KHQWKHSODLQWLIILVVXLQJWKH8QLWHG6WDWHVLWVRIILFHUVRUDJHQFLHVSODFHDQ;LQWKLVER[
         )HGHUDOTXHVWLRQ  7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHMXULVGLFWLRQDULVHVXQGHUWKH&RQVWLWXWLRQRIWKH8QLWHG6WDWHVDQDPHQGPHQW
         WRWKH&RQVWLWXWLRQDQDFWRI&RQJUHVVRUDWUHDW\RIWKH8QLWHG6WDWHV,QFDVHVZKHUHWKH86LVDSDUW\WKH86SODLQWLIIRUGHIHQGDQWFRGHWDNHV
         SUHFHGHQFHDQGER[RUVKRXOGEHPDUNHG
         'LYHUVLW\RIFLWL]HQVKLS  7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHSDUWLHVDUHFLWL]HQVRIGLIIHUHQWVWDWHV:KHQ%R[LVFKHFNHGWKH
         FLWL]HQVKLSRIWKHGLIIHUHQWSDUWLHVPXVWEHFKHFNHG. 6HH6HFWLRQ,,,EHORZ; NOTE: federal question actions take precedence over diversity
         cases.

III.     Residence (citizenship) of Principal Parties.7KLVVHFWLRQRIWKH-6LVWREHFRPSOHWHGLIGLYHUVLW\RIFLWL]HQVKLSZDVLQGLFDWHGDERYH0DUNWKLV
         VHFWLRQIRUHDFKSULQFLSDOSDUW\

IV.      Nature of Suit.3ODFHDQ;LQWKHDSSURSULDWHER[,IWKHQDWXUHRIVXLWFDQQRWEHGHWHUPLQHGEHVXUHWKHFDXVHRIDFWLRQLQ6HFWLRQ9,EHORZLV
         VXIILFLHQWWRHQDEOHWKHGHSXW\FOHUNRUWKHVWDWLVWLFDOFOHUN V LQWKH$GPLQLVWUDWLYH2IILFHWRGHWHUPLQHWKHQDWXUHRIVXLW,IWKHFDXVHILWVPRUHWKDQ
         RQHQDWXUHRIVXLWVHOHFWWKHPRVWGHILQLWLYH

V.       Origin.3ODFHDQ;LQRQHRIWKHVL[ER[HV
         2ULJLQDO3URFHHGLQJV  &DVHVZKLFKRULJLQDWHLQWKH8QLWHG6WDWHVGLVWULFWFRXUWV
         5HPRYHGIURP6WDWH&RXUW  3URFHHGLQJVLQLWLDWHGLQVWDWHFRXUWVPD\EHUHPRYHGWRWKHGLVWULFWFRXUWVXQGHU7LWOH86&6HFWLRQ
         :KHQWKHSHWLWLRQIRUUHPRYDOLVJUDQWHGFKHFNWKLVER[
         5HPDQGHGIURP$SSHOODWH&RXUW  &KHFNWKLVER[IRUFDVHVUHPDQGHGWRWKHGLVWULFWFRXUWIRUIXUWKHUDFWLRQ8VHWKHGDWHRIUHPDQGDVWKHILOLQJ
         GDWH
         5HLQVWDWHGRU5HRSHQHG  &KHFNWKLVER[IRUFDVHVUHLQVWDWHGRUUHRSHQHGLQWKHGLVWULFWFRXUW8VHWKHUHRSHQLQJGDWHDVWKHILOLQJGDWH
         7UDQVIHUUHGIURP$QRWKHU'LVWULFW  )RUFDVHVWUDQVIHUUHGXQGHU7LWOH86&6HFWLRQ D 'RQRWXVHWKLVIRUZLWKLQGLVWULFWWUDQVIHUVRU
         PXOWLGLVWULFWOLWLJDWLRQWUDQVIHUV
         0XOWLGLVWULFW/LWLJDWLRQ  &KHFNWKLVER[ZKHQDPXOWLGLVWULFWFDVHLVWUDQVIHUUHGLQWRWKHGLVWULFWXQGHUDXWKRULW\RI7LWOH86&6HFWLRQ
         :KHQWKLVER[LVFKHFNHGGRQRWFKHFN  DERYH

VI.      Cause of Action.5HSRUWWKHFLYLOVWDWXWHGLUHFWO\UHODWHGWRWKHFDXVHRIDFWLRQDQGJLYHDEULHIGHVFULSWLRQRIWKHFDXVHDo not cite jurisdictional
         statutes unless diversity. ([DPSOH86&LYLO6WDWXWH86&%ULHI'HVFULSWLRQ8QDXWKRUL]HGUHFHSWLRQRIFDEOHVHUYLFH

VII.     Requested in Complaint.&ODVV$FWLRQ3ODFHDQ;LQWKLVER[LI\RXDUHILOLQJDFODVVDFWLRQXQGHU5XOH)5&Y3
         'HPDQG,QWKLVVSDFHHQWHUWKHDFWXDOGROODUDPRXQWEHLQJGHPDQGHGRULQGLFDWHRWKHUGHPDQGVXFKDVDSUHOLPLQDU\LQMXQFWLRQ
         -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURUQRWDMXU\LVEHLQJGHPDQGHG

VIII. Related Cases.7KLVVHFWLRQRIWKH-6LVXVHGWRUHIHUHQFHUHODWHGSHQGLQJFDVHVLIDQ\,IWKHUHDUHUHODWHGSHQGLQJFDVHVLQVHUWWKHGRFNHW
      QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV

Date and Attorney Signature.'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
